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UNITED STATES DISTRICT COURT FOR THE NOV —5 2024

SOUTHERN DISTRICT OF WEST VIRGINIA
HUNTINGTON GRAND JURY 2023 |
NOVEMBER 5, 2024 SESSION (__sounes

UNITED STATES OF AMERICA

v. CRIMINAL NO. Q-d4-cr- I%2

21 U.S.C. § 841 (a) (1)
18 U.S.C. § 924(c) (1) (A)

AARON LEE MITTER

INDICTMENT

The Grand Jury Charges:

COUNT ONE

On or about July 11, 2024, at or near Parkersburg, Wood
County, West Virginia, and within the Southern District of West
Virginia, defendant AARON LEE MITTER knowingly and intentionally
distributed a quantity of a mixture and substance containing a
detectable amount of methamphetamine, its salts, isomers, and
salts of its isomers, a Schedule II controlled substance.

In violation of Title 21, United States Code, Section

841 (a) (1).

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COUNT TWO

On or about July 11, 2024, at or near Parkersburg, Wood
County, West Virginia, and within the Southern District of West
Virginia, defendant AARON LEE MITTER did knowingly use and carry
a firearm, that is, an AK-style privately made firearm, during and
in relation to a drug trafficking crime for which he may be
prosecuted in a court of the United States, that is distribution
of a quantity of a mixture and substance containing a detectable
amount of methamphetamine, its salts, isomers, and salts of its
isomers a Schedule II controlled substance in violation of 21
U.S.C. § B41 (aj (lL).

In violation of Title 18, United States Code, Section

924 (c) (1) (A).

WILLIAM S. THOMPSON
United States Attorney

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JUDSON C. MACCALLUM
Assistant United States Attorney

By:

